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\P HRW: USAO 2019R00622

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND mig 0

UNITED STATES OF AMERICA *
v. * CRIMINAL NO.
iH 19eRH94
JAMAL MICHAEL COLBERT, * (Delay or Destruction of Mail,
# 18 U.S.C. § 1703(a))
Defendant *
INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that:
On or about July 31, 2019 through on or about August 3, 2019, in the District of
Maryland, the defendant,

JAMAL MICHAEL COLBERT,

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being a Postal Service employee, willfully and unlawfully did secrete, destroy, detain, and delay

mail entrusted to him, and which was intended to be conveyed by mail and carried and delivered

to any carrier and other employee of the Postal Service.

18 U.S.C. § 1703(a)

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Robert K. Hur i
United States Attorney

A TRUE-BILL:

SIGNATURE REDACTED

=“ Foreperson

Date: October 21, 2019
